                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Ortrie D. Smith

UNITED STATES OF AMERICA                          Case No:08-00321-01-CR-W-ODS
vs.                                               Date: 2/28/2011
DARL DOUGLAS DENSON

       Plaintiff Counsel                          Defendant Counsel

       Bruce Rhoades, AUSA                         Ron Hall, CJA
       Time Commenced: 10:12 a.m.                  Time Terminated: 10:31 a.m.
X      There are NO objections to the P.S.I. OR the Guideline Range.

Total Offense Level: 34                           Criminal History Category: VI
Imprisonment Range: 262 to 327 months             Supervised Release Range: Count 3: to 8
                                                  yrs; Count 4: 3 to 5 years; Count 6: to 6 yrs.
Special Assessment: $100.00                       Restitution: Not Applicable
Fine Range: $ 17,500 to $ 14,000,000

The Defendant is sentenced to Counts 1, 3, 4 and 6.
X     Motion is filed by the U.S. Government for Downward Departure.
X     The Court grants said motion (doc #224).
X     Defense counsel statement. Government statement. Defendant statement.

INCARCERATION:
X    The Court hereby orders the defendant to serve the following term of incarceration with
     the FBP: 180 months on Counts 1, 3, 4, and 6, terms to run concurrent.
X    Defendant is hereby remanded to the custody of U.S. Marshal.

SUPERVISED RELEASE:
X    The Court hereby orders the defendant to the following term of Supervised Release:
     8 years on Counts 1 and 3; 5 years on Count 4; 6 years on Count 6, concurrent.

SPECIAL CONDITIONS OF SUPERVISED RELEASE OR PROBATION: See J&C

FINE: Waived

RESTITUTION: Not Applicable

SPECIAL ASSESSMENT: The Court imposes the following Special Assessment: $400.00

RECOMMENDATIONS:
X   The Court makes the following recommendations to the FBP: Upon application, the
    defendant be allowed to participate in the 500-Hour Residential Substance Abuse
    Treatment Program. Further, that defendant be considered for placement at the F.C. I.
    Texarkana, TX facility.
X   Denial of federal benefits as provided in 21 U.S.C. 862, is not ordered in this case.
X   The Court advises the Defendant he has 14 days to appeal.

Court Reporter: Cynthia Johnson                   Joella Baldwin, Courtroom Deputy
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